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       EXHIBIT D
    Defendants’ Requests for Production of
 Documents (First Set) to UEC, Fujimoto and
Aruze USA (collectively “UEC Parties”), served
            September 27, 2018




       EXHIBIT D
                                                                     APP017
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                                                                    7    America and Kazuo Okada
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                                                                   12
                                                                         Attorneys for Defendant Aruze Gaming
                                                                   13
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                                                                         America, Inc
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                                                                   14                              UNITED STATES DISTRICT COURT
                                                                   15                                     DISTRICT OF NEVADA
                                                                   16 UNIVERSAL ENTERTAINMENT                             CASE NO.: 2:18-00585-RFB-GWF
                                                                      CORPORATION, a Japanese corporation
                                                                   17                                                     ARUZE GAMING AMERICA, INC.
                                                                      Plaintiff,                                          AND KAZUO OKADA’S REQUESTS
                                                                   18                                                     FOR PRODUCTION OF DOCUMENTS
                                                                      v.
                                                                   19                                                     (FIRST SET)
                                                                      ARUZE GAMING AMERICA, INC., a Nevada
                                                                   20 corporation, KAZUO OKADA, an individual

                                                                   21 Defendants._____________________________
                                                                      ARUZE GAMING AMERICA, INC., a Nevada
                                                                   22 corporation, KAZUO OKADA, an individual

                                                                   23 Counterclaimants,

                                                                   24 v.

                                                                   25 UNIVERSAL ENTERTAINMENT
                                                                      CORPORATION, a Japanese corporation,
                                                                   26 ARUZE USA, a Nevada corporation, and JUN
                                                                      FUJIMOTO, an individual,
                                                                   27
                                                                      Counter Defendants.
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                                                                    1           TO: EACH         PLAINTIFF        OR    COUNTER-DEFENDANT                AND      ITS/HIS
                                                                    2    ATTORNEY OF RECORD.
                                                                    3           Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendants/Counter-Claimants
                                                                    4    request that Plaintiff/Counter-Defendants produce documents described below for inspection
                                                                    5    and copying at the offices of Holland & Hart LLP, 9555 Hillwood Drive, 2nd Floor, Las Vegas,
                                                                    6    Nevada 89134, within thirty (30) days after service of this request or at a mutually agreed upon
                                                                    7    time and place.
                                                                    8                                INSTRUCTIONS AND DEFINITIONS
                                                                    9          1.      Plaintiff/Counter-Defendants’ responses to these requests shall comply with FRCP
                                                                   10 34(b)(2), in that for all items produced pursuant to these requests, Plaintiff/Counter-Defendants

                                                                   11 shall “organize and label them to correspond with the categories in the request.”
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                                                                   12          2.      As used in these requests, the following terms are defined as follows:
                                                                   13
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                                                                                       a.     “Accused Product” means any product or service made, used, sold, or
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                                                                   14 offered for sale by AGA that UEC contends infringes any claim of any Asserted Patent.

                                                                   15                  b.     “AGA” refers to the Defendant/Counter-Claimant in this action identified
                                                                   16 as Aruze Gaming America, Inc., including but not limited to its known predecessors, successors,

                                                                   17 parents, subsidiaries, divisions and affiliates (excluding UEC and Aruze), and each of their

                                                                   18 respective current and former officers, directors, agents, attorneys, accountants, employees,

                                                                   19 representatives, partners, consultants, contractors, advisors, and other persons occupying similar

                                                                   20 positions or performing similar functions, and all other persons acting or purporting to act on its

                                                                   21 behalf or under its control.

                                                                   22                  c.     “Aruze” refers to the Counter-Defendant in this action identified as Aruze
                                                                   23 USA, Inc., including but not limited to its predecessors, successors, parents, subsidiaries,

                                                                   24 divisions and affiliates (excluding AGA), and each of their respective current and former officers,

                                                                   25 directors, agents, attorneys, accountants, employees, representatives, partners, consultants,

                                                                   26 contractors, advisors, and other persons occupying similar positions or performing similar

                                                                   27 functions, and all other persons acting or purporting to act on its behalf or under its control.

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                                                                    1                  d.     “Asserted Claim” means any claim of any of the Asserted Patents asserted
                                                                    2 by UEC against AGA in this litigation.

                                                                    3                  e.     “Asserted Patents” refers to any or all patents asserted in this action,
                                                                    4 including U.S. Reissue Patent Nos. 46,472 and 46,473 and U.S. Patent Nos. 8,088,013 and

                                                                    5 8,246,047.

                                                                    6                  f.     “Board of Corporate Auditors” refers to that term as used by UEC in its
                                                                    7 June 8, 2017 press release entitled “Notice on the Establishment of the Special Investigation

                                                                    8 Committee.” Pursuant to this press release under the section entitled “Background of the

                                                                    9 Establishment of the Special Investigation Committee,” UEC states that “[a]t the Company’s

                                                                   10 Extraordinary Board Meeting held on May 23, 2017, a report, with an approval of the Board of

                                                                   11 Corporate Auditors, was made by Mr. Nobuyoshi Ichikura…” (Emphasis added).
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                                                                   12                  g.     “Concerning” means constituting, relating to, pertaining to, referring to,
                                                                   13 alluding to, responding to, in connection with, commenting on, in response to, regarding,
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                                                                   14 explaining, discussing, showing, describing, studying, reflecting, analyzing, supporting or

                                                                   15 contradicting.

                                                                   16                  h.     “Document(s)” or “Communication(s)” mean the original, or a copy
                                                                   17 when the original is not available, and each non-identical copy, including those which are non-

                                                                   18 identical by reason of notations or markings of: papers, tapes, drives, discs, or other substances

                                                                   19 on which Communications, data, or information is recorded or stored, whether made by manual,

                                                                   20 mechanical, photographic or electronic process. This definition includes all drafts or superseded

                                                                   21 revisions of each document. As used herein, “document(s)” and “Communications” includes,

                                                                   22 but is not limited to: e-mail, text messages, books, pamphlets, periodicals, letters, reports,

                                                                   23 memoranda, handwritten notes, notations, messages, telegrams, cables, records, drafts, diaries,

                                                                   24 studies, analyses, summaries, magazines, circulars, bulletins, instructions, minutes, photographs,

                                                                   25 purchase orders, bills, checks, tabulations, calendars, charge slips, questionnaires, surveys,

                                                                   26 drawings, sketches, working papers, charts, graphs, indexes, taped correspondence, records of

                                                                   27 purchase of sale, contracts, agreements, leases, invoices, expense records, trip reports, releases,

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                                                                    1 appraisals, valuations, estimates, opinions, financial statements, accounting records, income

                                                                    2 statements, electronic or other transcriptions or taping of telephone or personal conversations or

                                                                    3 conferences or any and all other written, printed, typed, punched, taped, filed or graphic matter

                                                                    4 or tangible thing, of whatever description, however produced or reproduced (including computer

                                                                    5 stored or generated data, together with instructions and programs necessary to search or retrieve

                                                                    6 such data), and shall include all attachments and enclosures to any requested item, which shall

                                                                    7 not be separated from the item to which they are attached or enclosed. “Documents” also includes

                                                                    8 any records maintained by computer or other electronic media, including disk, CD-ROM, DVD

                                                                    9 or other devices. “Documents” include electronically stored information (“ESI”) associated with

                                                                   10 requested documents, including, without limitation email, voicemail, documents, spreadsheets,

                                                                   11 calendars, and any other information existing in electronic format (e.g. Word, Excel, Outlook,
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                                                                   12 .pdf, .tif, .jpg, .wav). “Documents” also includes any physical things.

                                                                   13
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                                                                                      i.     “Fujimoto” refers to the individual Counter-Defendant in this action
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                                                                   14 identified as Jun Fujimoto, or anyone acting on his behalf.

                                                                   15                 j.     “Internal Audit Office” refers to that term as used by UEC in its June 8,
                                                                   16 2017 press release entitled “Notice on the Establishment of the Special Investigation Committee.”

                                                                   17 Pursuant to this press release under the section entitled “Background of the Establishment of the

                                                                   18 Special Investigation Committee,” UEC states that “[a]t the Company’s Extraordinary Board

                                                                   19 Meeting held on May 23, 2017, a report, with an approval of the Board of Corporate Auditors,

                                                                   20 was made by Mr. Nobuyoshi Ichikura…. The report said that there was a possibility that

                                                                   21 fraudulent acts were carried out, including but not limited to skipping a proper internal approval

                                                                   22 process, in connection with the loan extended from Tiger Resorts Asia Limited, a Hong Kong

                                                                   23 subsidiary of the Company (hereinafter referred to as “TRA”) that was processed by Mr. Kazuo

                                                                   24 Okada, Chairman and Director of the Company [] and Mr. Yoshinao Negishi, Director and

                                                                   25 General Manager of Administrative Division of the Company [] in March 20, 2015.” “In response

                                                                   26 to this, the Company suspended all the rights and authorities previously held by Chairman Okada

                                                                   27 and Director Negishi with regard to the business execution and commanding in the Company, its

                                                                   28
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                                                                    1 subsidiaries and affiliated companies, established an in-house investigation team consisting of the

                                                                    2 Corporate Auditors, members of the Internal Audit Office and external experts who had no

                                                                    3 interests in the Company and proceeded with its investigation.” (emphasis added).

                                                                    4                  k.     ““Make,” “use,” “offer for sale,” and “sell,” each assume the broadest
                                                                    5 possible meaning given those terms under 35 U.S.C. § 271. As used herein, these terms further

                                                                    6 include any making or manufacturing, using, or selling for experimental purposes.

                                                                    7                  l.     “Named Inventors” means all inventors named on the face of the Asserted
                                                                    8 Patents, including Takashi Abe, Hideaki Kishi, Yuya Konno,Yasuyuki Sekine, and Koichiro

                                                                    9 Hashimoto.

                                                                   10                  m.     “Okada” refers to the individual Defendant/Counter-Claimant in this
                                                                   11 action identified as Kazuo Okada.
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                                                                   12                  n.     “Okada Holdings” refers to Okada Holdings, Limited, including but not
                                                                   13 limited to its predecessors, successors, parents, subsidiaries, divisions and affiliates, and each of
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                                                                   14 their respective current and former officers, directors, agents, attorneys, accountants, employees,

                                                                   15 representatives, partners, consultants, contractors, advisors, and other persons occupying similar

                                                                   16 positions or performing similar functions, and all other persons acting or purporting to act on its

                                                                   17 behalf or under its control.

                                                                   18                  o.      “Okada Holdings Takeover” refers to Tomohiro Okada purportedly
                                                                   19 obtaining control of Hiromi’s Okada’s approximate 9.78% minority share of Okada Holdings

                                                                   20 Limited, which combined with Tomohiro Okada’s approximate 43.4%, would give Tomohiro

                                                                   21 Okada control over Okada Holdings Limited (as described in Counterclaim paragraphs 70 – 99,

                                                                   22 107-109). As a result of Tomohiro Okada obtaining purported control over Okada Holdings

                                                                   23 Limited, Mr. Okada was removed as its director and replaced by Mr. Atsunobu Ishida and Mr.

                                                                   24 Makoto Takada on or about May 12, 2017. Any request for documents relating to the Okada

                                                                   25 Holdings Limited Takeover should include documents from January 1, 2017 to present.

                                                                   26                  p.     “Patent” refers to any patent, patent application, patent publication, utility
                                                                   27 model, or design.

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                                                                    1                 q.      “Patent Counsel” means all attorneys, agents, and other persons or entities
                                                                    2 that assisted or represented UEC and/or the Named Inventors in drafting, prosecuting, and/or

                                                                    3 obtaining the Asserted Patents.

                                                                    4                 r.      “Prior Art” means all things, patents, publications, disclosures, uses,
                                                                    5 sales, offers for sale, or other acts or occurrences, by Plaintiff or by others, included within the

                                                                    6 broadest meaning of 35 U.S.C. § 102 (or any subpart thereof) and 35 U.S.C. § 103.

                                                                    7                 s.      “Related Applications” means any and all applications related to the
                                                                    8 Asserted Patents, including any provisional or non-provisional applications, continuations,

                                                                    9 continuations-in-part, divisions, interferences, reexaminations, reissues, parents, foreign counter-

                                                                   10 part applications, and any other applications disclosing, describing or claiming any invention

                                                                   11 disclosed, described, or claimed in the Asserted Patents, or claiming the benefit of the filing date
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                                                                   12 of any application whose benefit is claimed in the Asserted Patents, whether or not abandoned

                                                                   13 and whether or not issued.
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                                                                   14                 t.      “Related Patents” means any and all patents based upon any Related
                                                                   15 Application, including foreign patents, domestic patents, corresponding patent applications, and

                                                                   16 co-pending patent applications and any patents that may have been opposed, reexamined, re-

                                                                   17 issued, or subjected to any validity or nullity proceeding.

                                                                   18                 u.       “Special Investigation Committee” refers to that committee referenced
                                                                   19 in paragraphs 67 – 68 of UEC’s Second Amended Complaint which, inter alia, alleges that “[i]n

                                                                   20 June 2017, UEC became aware of a possibility that Okada engaged in misconduct in relation to

                                                                   21 foreign business. In response to this misconduct, UEC established a Special Investigation

                                                                   22 Committee formed by outside experts to investigate Okada.” “On August 29, 2017, the Special

                                                                   23 Investigation Committee reported the results of the investigation to UEC. This identified the fact

                                                                   24 that Okada had caused UEC damages worth at least JPY 2.2 billion due to his misconduct through

                                                                   25 the foreign business done for personal gain during 2013 – 2015.”

                                                                   26                 v.      “UEC” or “Plaintiff” refers to the Plaintiff/Counter-Defendant in this
                                                                   27 action identified as Universal Entertainment Corporation, including but not limited to its

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                                                                    1 predecessors, successors, parents, subsidiaries, divisions and affiliates, and each of their

                                                                    2 respective current and former officers, directors, agents, attorneys, accountants, employees,

                                                                    3 representatives, partners, consultants, contractors, advisors, and other persons occupying similar

                                                                    4 positions or performing similar functions, and all other persons acting or purporting to act on its

                                                                    5 behalf or under its control.

                                                                    6                 w.      “Wynn Litigation” refers to the civil action filed in Nevada District Court
                                                                    7 under cause number A-12-656710-B by Wynn Resorts, Limited against Okada, Aruze, and UEC.

                                                                    8          3.     Words in the singular include their plural meaning, and vice versa. The past tense
                                                                    9 includes the present tense where the clear meaning is not distorted by a change of tense, and words

                                                                   10 used in the masculine gender shall include the feminine gender.

                                                                   11          4.     The words “and” and “or” shall be individually interpreted in every instance as
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                                                                   12 meaning “and/or” and shall not be interpreted to exclude any information within the scope of any

                                                                   13 request.
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                                                                   14          5.     References to persons and other entities include their agents, employees,
                                                                   15 representatives, and attorneys.

                                                                   16          6.     These requests require production of Documents, including documents,
                                                                   17 electronically stored information or things, that are in your possession, custody or control, and

                                                                   18 Documents that are in the possession, custody or control of your agents, employees, accountants,

                                                                   19 attorneys, representatives, or other persons who have documents deemed to be in your possession,

                                                                   20 custody or control.

                                                                   21          7.     If you contend that you are entitled to withhold from production any or all
                                                                   22 Documents identified herein on the basis of attorney/client privilege, work product doctrine, or

                                                                   23 other ground, then do the following with respect to each and every document:

                                                                   24                 a.      Describe the nature of the document, in sufficient particularity to identify
                                                                   25 it and to enable you to identify or disclose it in response to an order of the court, including the

                                                                   26 date and subject matter of such document;

                                                                   27                 b.      Identify the person(s) who prepared the document;
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                                                                    1                  c.     Identify the person(s) who sent and received the original and a copy of the
                                                                    2 document, or to whom the document was circulated, or its contents communicated or disclosed;

                                                                    3 and

                                                                    4                  d.     State the basis upon which you contend you are entitled to withhold the
                                                                    5 document from production.

                                                                    6          8.      Whenever a document is not produced in full (as, for example, when material is
                                                                    7 excerpted or redacted from a document), state with particularity the reason or reasons why the

                                                                    8 document was not produced in full, and describe to the best of your knowledge, information, or

                                                                    9 belief and with as much particularity as possible, those portions of the document that are not

                                                                   10 produced, including the content or substance of the content thereof.

                                                                   11          9.      If Documents existed that were responsive to any of these requests, but you
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                                                                   12 contend that such Documents no longer exist or are not within your possession, custody or

                                                                   13 control, then do the following with respect to each and every document:
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                                                                   14                  a.     Describe the nature of the document, in sufficient particularity to identify
                                                                   15 it and to enable the answering party to identify or disclose it in response to an order of the court,

                                                                   16 including the date and subject matter of such document;

                                                                   17                  b.     Identify the person(s) who prepared the document;
                                                                   18                  c.     Identify the person(s) who sent and received the original and a copy of the
                                                                   19 document, or to whom the document was circulated, or its contents communicated or disclosed;

                                                                   20 and

                                                                   21                  d.     State the circumstances which prevent production of the document.
                                                                   22          10.     Electronic records and computerized information shall be produced in an
                                                                   23 intelligible and readable format and shall be accompanied by a description of the system from

                                                                   24 which they were obtained, including a description of the database or other software utilized with

                                                                   25 respect to such data.

                                                                   26          11.     Unless otherwise specifically stated, all requests call for production of Documents
                                                                   27 prepared, received, or dated at any time prior to and including the date of production.

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                                                                    1          12.    With respect to any category of Documents whose production you contend is in
                                                                    2 some way “burdensome” or “oppressive,” please state the specific reason for that objection.

                                                                    3          13.    These requests are continuing and, to the extent required by the Federal Rules of
                                                                    4 Civil Procedure, you must promptly produce such additional responsive Documents as may

                                                                    5 hereafter be located or acquired by you.

                                                                    6          14.    The answering party shall produce the Documents as they are kept in the usual
                                                                    7 course of business or organize and label the Documents to correspond with the categories in these

                                                                    8 requests. If the original is not in your custody, then you are to produce a copy thereof, and all

                                                                    9 non-identical copies which differ from the original or from the other copies produced for any

                                                                   10 reason including the making of notes thereon.

                                                                   11          15.    These Requests are intended to encompass any electronically stored information
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                                                                   12 or any data or information maintained in any form.

                                                                   13
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                                                                               16.    Unless the parties agree otherwise, Defendants/Counter-Claimants request
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                                                                   14 production in the form set forth in the parties ESI Agreement.

                                                                   15                     REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                   16                                               General
                                                                   17 REQUEST NO. 1:

                                                                   18          Please produce copies of all Documents identified in and/or which tend to support, refute,
                                                                   19 or are in any way relevant to the Second Amended Complaint filed on August 23, 2018.

                                                                   20 REQUEST NO. 2:

                                                                   21          Please produce all Documents reviewed or relied upon in connection with the filing of the
                                                                   22 Second Amended Complaint in this litigation.

                                                                   23 REQUEST NO. 3:

                                                                   24          Please produce all Documents on which UEC intends to rely to support its positions
                                                                   25 Concerning any claim or defense in this action.

                                                                   26 REQUEST NO. 4:

                                                                   27          Please produce all Documents sufficient to identify persons who have knowledge
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                                                                    1 Concerning any claim or defense in this action.

                                                                    2 REQUEST NO. 5:

                                                                    3          Please produce all Documents Concerning, or on which UEC intends to rely to establish,
                                                                    4 elements of UEC’ case where UEC bears the burden of proof.

                                                                    5 REQUEST NO. 6:

                                                                    6          Please produce all exhibits that UEC plans to use at any hearing or at the trial of this case,
                                                                    7 including Documents, physical samples, or demonstratives of any kind, and all Documents

                                                                    8 prepared by any person UEC expects to call to testify as an expert at trial, including but not limited

                                                                    9 to reports, correspondence, memoranda, charts, photographs, diagrams, drawings, tables, notes or

                                                                   10 similar Documents, as well as Documents though not written by experts, that UEC intends to

                                                                   11 offer into evidence through an expert at trial.
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                                                                   12 REQUEST NO. 7:

                                                                   13
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                                                                               Please produce each and every written or recorded statement, affidavit, affirmation or
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                                                                   14 declaration Concerning any of the allegations in the Second Amended Complaint that UEC or

                                                                   15 anyone acting on behalf of UEC has obtained.

                                                                   16 REQUEST NO. 8:

                                                                   17          Please produce all Documents on which UEC relied in the preparation of UEC's response
                                                                   18 or supplemental response to any interrogatory, request for admission, or request for production

                                                                   19 served by Defendants in this Action, including any Documents identified in, requested to be

                                                                   20 identified in, used, or relied upon in the preparation of any such UEC response or supplemental

                                                                   21 response.

                                                                   22 REQUEST NO. 9:

                                                                   23          Please produce all Documents evidencing any damages incurred by Plaintiff as it relates
                                                                   24 to any claim alleged in the Second Amended Complaint.

                                                                   25 REQUEST NO. 10:

                                                                   26          Please produce all Documents Concerning any document retention or destruction policy
                                                                   27 of UEC or any such policy governing UEC employees.

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                                                                    1 REQUEST NO. 11:

                                                                    2          Please produce all Documents containing any facts or data that UEC, or anyone on its
                                                                    3 behalf including attorneys, provided to any testifying expert witness that the expert considered in

                                                                    4 forming the opinions to be expressed.

                                                                    5 REQUEST NO. 12:

                                                                    6          Please produce all Documents containing any assumptions that UEC, or anyone on its
                                                                    7 behalf including attorneys, provided to any testifying expert witness that the expert relied on in

                                                                    8 forming the opinions to be expressed from January 1, 2017 to present.

                                                                    9                                    Corporate Structure/History
                                                                   10 REQUEST NO. 13:

                                                                   11          Please produce all Documents Concerning the corporate structure, organization, or
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                                                                   12 business of UEC, including without limitation, articles of incorporation, bylaws, organizational

                                                                   13 charts, decision-making authority charts, business plans, and corporate reports and filings.
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                                                                   14 REQUEST NO. 14:

                                                                   15          Please produce all Documents Concerning amendments UEC has made to its corporate
                                                                   16 Documents, including but not limited to its articles of incorporation and bylaws, since January 1,

                                                                   17 2007.

                                                                   18 REQUEST NO. 15:

                                                                   19          Please produce all Documents Concerning the corporate structure, organization, or
                                                                   20 business of Aruze, including without limitation, articles of incorporation, bylaws, organizational

                                                                   21 charts, business plans, and corporate reports and filings, since January 1, 2007.

                                                                   22 REQUEST NO. 16:

                                                                   23          Please produce all Documents Concerning amendments Aruze has made to its corporate
                                                                   24 Documents, including but not limited to its articles of incorporation and bylaws, since January 1,

                                                                   25 2007.

                                                                   26 REQUEST NO. 17:

                                                                   27          Please produce all Documents Concerning Okada Holdings’ appointment of Okada as
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                                                                    1 nominee director in UEC.

                                                                    2 REQUEST NO. 18:

                                                                    3          Please produce all Documents Concerning the sale of AGA by UEC to Okada which was
                                                                    4 consummated on March 31, 2009.

                                                                    5 REQUEST NO. 19:

                                                                    6          Please produce all Documents in support of UEC’s contention in paragraph 59 of the
                                                                    7 Second Amended Complaint that the transfer of the remaining stock in AGA owned by UEC to

                                                                    8 Okada was “completed in March 2010.”

                                                                    9 REQUEST NO. 20:

                                                                   10          Please produce all Documents Concerning UEC’s appointment of Okada as nominee
                                                                   11 director in Tiger Resorts Asia Limited dated April 8, 2014.
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12 REQUEST NO. 21:

                                                                   13
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                                                                               Please produce all Documents Concerning Okada’s responsibilities and duties, including
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                                                                   14 any job description, as director of Tiger Resorts Asia Limited.

                                                                   15 REQUEST NO. 22:

                                                                   16          Please produce all Documents Concerning UEC’s revocation of Okada’s appointment of
                                                                   17 nominee director in Tiger Resorts Asia Limited.

                                                                   18 REQUEST NO. 23:

                                                                   19          Please produce the Agreement/Declaration of Trust between Tiger Resorts Asia Limited
                                                                   20 and Okada, entrusting to Okada one (1) share of stock in Tiger Resorts Leisure and Entertainment,

                                                                   21 Inc.

                                                                   22 REQUEST NO. 24:

                                                                   23          Please produce the Tiger Resorts Asia Limited Resolution dated June 13, 2017, revoking
                                                                   24 the Agreement/Declaration of Trust between Tiger Resorts Asia Limited and Okada, entrusting

                                                                   25 to Okada one (1) share of stock in Tiger Resorts Leisure and Entertainment, Inc.

                                                                   26 REQUEST NO. 25:

                                                                   27          Please produce the Tiger Resorts Leisure and Entertainment, Inc. Resolution and Minutes
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                                                                    1 of Shareholders’ Meeting Implementing the Removal of Mr. Okada as a Director, in relation to

                                                                    2 the Documents requested in Requests No. 23 and 24.

                                                                    3 REQUEST NO. 26:

                                                                    4          Please produce UEC’s Former Affiliate Company Management Rules and current
                                                                    5 Subsidiary Company Rules (effective March 1, 2010).

                                                                    6 REQUEST NO. 27:

                                                                    7          Please produce all Documents Concerning share transfers made by shareholders of
                                                                    8 Universal Sales Co., Ltd. from 1991-1994, including, without limitation, all stock ledgers of

                                                                    9 Universal Sales Co., Ltd.

                                                                   10 REQUEST NO. 28:

                                                                   11          Please produce all Documents Concerning share transfers made by shareholders of UEC
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12 from 2009-2011, including, without limitation, all stock ledgers of UEC.

                                                                   13 REQUEST NO. 29:
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                                                                   14          Please produce all Documents Concerning share transfers made by shareholders of UEC
                                                                   15 in 2017, including, without limitation, all stock ledgers of UEC.

                                                                   16                                                Patent
                                                                   17 REQUEST NO. 30:

                                                                   18          Please produce all Documents Concerning all steps or efforts taken by UEC to enforce
                                                                   19 any of the Asserted Patents against any person, including, but not limited to, charges of

                                                                   20 infringement of any of the Asserted Patents.

                                                                   21 REQUEST NO. 31:

                                                                   22          Please produce all Documents in support of paragraph 69 of the Second Amended
                                                                   23 Complaint, which states “Because of Okada’s actual knowledge of the Asserted Patents, AGA

                                                                   24 also had actual knowledge of the Asserted Patents.”

                                                                   25 REQUEST NO. 32:

                                                                   26           Please produce all Documents in support of paragraph 70 of the Second Amended
                                                                   27     Complaint, which states “Upon information and belief, Okada directed employees of AGA
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                                                                    1     located in Nevada to develop and produce the Accused Products, which made use of the
                                                                    2     technology claimed in the Asserted Patents, without obtaining a license or permission from
                                                                    3     UEC, and thereby infringing the Asserted Patents.”
                                                                    4 REQUEST NO. 33:

                                                                    5            Please produce all Documents in support of paragraph 71 of the Second Amended
                                                                    6     Complaint, which states, “AGA provided no benefit or compensation to UEC for its
                                                                    7     exploitation of the Asserted Patents; AGA never entered into a license agreement with UEC.”
                                                                    8 REQUEST NO. 34:

                                                                    9           Please produce all Documents in support of paragraph 72 of the Second Amended
                                                                   10 Complaint, which states “UEC did not learn of AGA’s unauthorized use of UEC’s patent rights,

                                                                   11 including the Asserted Patents, until UEC began investigating Okada’s misconduct in 2017.”
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                                                                   12 REQUEST NO. 35:

                                                                   13
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                                                                                 Please produce all Documents Concerning the preparation, filing, and prosecution of
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                                                                   14     each Asserted Patent, Related Patent, and Related Application, including, without limitation,
                                                                   15     all draft and final versions of the invention disclosure, the application(s), a copy of the
                                                                   16     prosecution history, draft versions of the application(s), draft versions of responses to office
                                                                   17     actions, and all communications regarding the preparation, filing, prosecution, abandonment,
                                                                   18     and revival of such patent applications.
                                                                   19 REQUEST NO. 36:

                                                                   20           Please produce all Documents Concerning UEC’s contention that AGA has willfully
                                                                   21 infringed any Asserted Claim.

                                                                   22 REQUEST NO. 37:

                                                                   23           Please produce all Documents Concerning UEC’s contention that AGA has induced the
                                                                   24 infringement of any Asserted Claim.

                                                                   25 REQUEST NO. 38:

                                                                   26           Please produce all Documents Concerning UEC’s contention that AGA has contributorily
                                                                   27 infringed any Asserted Claim.

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                                                                    1 REQUEST NO. 39:

                                                                    2          Please produce all Documents Concerning any UEC policy or procedure for acquisitions,
                                                                    3 mergers, or asset purchases, including Documents explaining or identifying any due diligence

                                                                    4 procedure, any investigation procedure, any intellectual property valuation procedure, and any

                                                                    5 technology transfer procedure since January 1, 2007.

                                                                    6 REQUEST NO. 40:

                                                                    7          Please produce all Documents Concerning any technical or industry conference,
                                                                    8 symposium, trade show, standards committee(s), or meeting concerning the subject matter of any

                                                                    9 of the Asserted Patents attended by any of the Named Inventors anywhere in the world before the

                                                                   10 filing of the corresponding Related Applications, including but not limited to all Documents

                                                                   11 showing the attendance by any of the Named Inventors, notes by any of the Named Inventors,
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                                                                   12 and Documents received at the conference, symposium, trade show, standards committee(s) or

                                                                   13 meeting since December 1, 1997 as to Mr. Sekine, and January 1, 2017 as to all other Named
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                                                                   14 Inventors.

                                                                   15 REQUEST NO. 41:

                                                                   16          Please produce all Documents Concerning, or on which UEC intends to rely in support
                                                                   17 of, UEC’s contention that any of the Asserted Patents are valid.

                                                                   18 REQUEST NO. 42:

                                                                   19          Please produce all Documents Concerning any alleged secondary indicia of non-
                                                                   20 obviousness, including without limitation:

                                                                   21          (a)    any long-felt need for the alleged inventions claimed or technology disclosed in
                                                                   22                 any of the Asserted Patents;
                                                                   23          (b)    any failure in the relevant art to solve the problems that are the subjects of the
                                                                   24                 alleged inventions claimed or technology disclosed in any of the Asserted Patents;
                                                                   25          (c)    any commercial success of the alleged inventions claimed or technology disclosed
                                                                   26                 in any of the Asserted Patents;
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                                                                    1          (d)    any industry recognition or praise of the alleged inventions claimed or technology
                                                                    2                 disclosed in any of the Asserted Patents;
                                                                    3          (e)    any copying or adoption by others of the alleged inventions claimed or technology
                                                                    4                 disclosed in any of the Asserted Patents;
                                                                    5          (f)    any skepticism towards the alleged inventions claimed or technology disclosed in
                                                                    6                 any of the Asserted Patents;
                                                                    7          (g)    any commercial acquiescence of competitors to license the alleged inventions
                                                                    8                 claimed or technology disclosed in any of the Asserted Patents;
                                                                    9          (h)    any failure of others to independently develop the alleged inventions claimed or
                                                                   10                 technology disclosed in any of the Asserted Patents;
                                                                   11          (i)    any prior litigation regarding the alleged inventions claimed or technology
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                                                                   12                 disclosed in any of the Asserted Patents; or
                                                                   13
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                                                                               (j)    any surprise towards the capabilities of the alleged inventions claimed or the
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                                                                   14                 technology disclosed in any of the Asserted Patents.
                                                                   15 REQUEST NO. 43:

                                                                   16          Please produce all publications authored or co-authored by any of the Named Inventors,
                                                                   17 which pre-date the filing date of any of the Asserted Patents on which such a Named Inventor is

                                                                   18 so named.

                                                                   19 REQUEST NO. 44:

                                                                   20          Please produce all Documents Concerning all Prior Art known to UEC, any Named
                                                                   21 Inventor, and/or Patent Counsel that pertains to the subject matter claimed in any of the Asserted

                                                                   22 Patents, whether or not cited to the U.S. Patent and Trademark Office.

                                                                   23 REQUEST NO. 45:

                                                                   24          Please produce all employment or consulting agreements between UEC or others
                                                                   25 (including predecessor and UEC-acquired entities) and any of the Named Inventors

                                                                   26 REQUEST NO. 46:

                                                                   27          Please produce all opinions of counsel Concerning the validity, enforceability,
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                                                                    1 infringement, or non-infringement of any of the Asserted Patents.

                                                                    2 REQUEST NO. 47:

                                                                    3          Please produce all affidavits, trial or deposition testimony, exhibits for such testimony,
                                                                    4 declarations, or other sworn statements of which UEC is aware Concerning any of the Asserted

                                                                    5 Patents and/or the inventions claimed in any of any Asserted Patents.

                                                                    6 REQUEST NO. 48:

                                                                    7          Please produce all UEC and any UEC-acquired entity board and executive notes, minutes,
                                                                    8 agendas, or memoranda making any reference to any of the Asserted Patents, this litigation, or

                                                                    9 AGA.

                                                                   10 REQUEST NO. 49:

                                                                   11          Please produce all Documents Concerning any of the Asserted Patents and any of the
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                                                                   12 Related Applications that matured into any of the Asserted Patents, including but not limited to

                                                                   13 Documents Concerning the references cited in any of the Asserted Patents and communications
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                                                                   14 with third parties about any of the Asserted Patents.

                                                                   15 REQUEST NO. 50:

                                                                   16          Please produce all Documents Concerning the best mode of carrying out the subject matter
                                                                   17 disclosed or claimed in any of the Asserted Patents known to any of the Named Inventors at any

                                                                   18 time prior to the filing of any of the Related Applications.

                                                                   19 REQUEST NO. 51:

                                                                   20          Please produce all Documents Concerning any experimentation or analysis of the subject
                                                                   21 matter of the claims of any Asserted Patent conducted by or for UEC or by any third party prior

                                                                   22 to each filing date of each of the Asserted Patents.

                                                                   23 REQUEST NO. 52:

                                                                   24          Please produce all Patents, Related Applications, Related Patents, patent file histories, and
                                                                   25 Documents or files Concerning all patents on which any of the Named Inventors is a named

                                                                   26 inventor. This request is limited to Documents created prior to the issue date of the Asserted

                                                                   27 Patent on which a named Inventor is so named.

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                                                                    1 REQUEST NO. 53:

                                                                    2          Please produce, for each Named Inventor, Documents sufficient to show the background,
                                                                    3 education, and work history of such person.

                                                                    4 REQUEST NO. 54:

                                                                    5          Please produce all Documents Concerning tracking of time worked and tasks performed
                                                                    6 on the G-ENEX project for all UEC employees and all AGA employees during the time AGA

                                                                    7 was affiliated with UEC.

                                                                    8 REQUEST NO. 55:

                                                                    9          Please produce all employee records for Named Inventor Mr. Koichiro Hashimoto.
                                                                   10 REQUEST NO. 56:

                                                                   11          Please produce all Documents Concerning product presentations made by AGA from
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                                                                   12 April 1, 2007 to present, including but not limited to, photos, video recordings, and notes made

                                                                   13 by UEC employees in attendance at AGA product presentations.
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                                                                   14 REQUEST NO. 57:

                                                                   15          Please produce all Documents upon which UEC intends to rely to establish the level of
                                                                   16 ordinary skill in the art to which the subject matter of any of the claims of any Asserted Patents

                                                                   17 pertains.

                                                                   18 REQUEST NO. 58:

                                                                   19          Please produce all Documents Concerning UEC’s first awareness of any activities,
                                                                   20 products, or services of AGA that form the basis for any accusation of infringement of any of the

                                                                   21 Asserted Patents.

                                                                   22 REQUEST NO. 59:

                                                                   23          Please produce all Documents Concerning any analysis of alleged infringement of any of
                                                                   24 the Asserted Patents by any AGA product.

                                                                   25 REQUEST NO. 60:

                                                                   26          Please produce all Documents Concerning the basis for UEC’s allegations of AGA’s
                                                                   27 alleged infringement.

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                                                                    1 REQUEST NO. 61:

                                                                    2          Please produce all Documents Concerning all steps or efforts taken by UEC or others
                                                                    3 (including UEC-acquired entities) to enforce any of the Asserted Patents against any person,

                                                                    4 including, but not limited to, charges of infringement of any of the Asserted Patents.

                                                                    5 REQUEST NO. 62:

                                                                    6          Please produce all Documents Concerning the basis for UEC’s claim of injunctive relief.
                                                                    7 REQUEST NO. 63:

                                                                    8          Please produce all Documents Concerning any other litigation, prospective litigation, re-
                                                                    9 examination, reissue, inter parties review, or dispute involving any of the Asserted Patent or any

                                                                   10 Related Patents.

                                                                   11 REQUEST NO. 64:
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12          Please produce all Documents Concerning any patent marking in connection with any of
                                                                   13 the Asserted Patents, or any other alleged compliance by UEC with 35 U.S.C. Section 287(a).
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                                                                   14 REQUEST NO. 65:

                                                                   15          Please produce all license, assignment, or settlement agreements Concerning the alleged
                                                                   16 inventions claimed in any of the Asserted Patents and any Documents evidencing, recording, or

                                                                   17 related to payments made under such agreements.

                                                                   18 REQUEST NO. 66:

                                                                   19          Please produce all Documents Concerning any communications, agreements, discussions,
                                                                   20 negotiations, inquiries, or proposals relating to the licensing or assignment of the inventions

                                                                   21 claimed in any of the Asserted Patents (including cease and desist letters and any communications

                                                                   22 relating thereto).

                                                                   23 REQUEST NO. 67:

                                                                   24          Please produce all Documents Concerning any license, offer to license, or attempt to
                                                                   25 license any of the Asserted Patents or any Related Patents, or any Patents owned by UEC or UEC-

                                                                   26 Acquired Entities to any person-whether or not the offer or attempt has resulted in a license-

                                                                   27 including, without limitation, Documents regarding the rights being offered, the consideration

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                                                                    1 paid or to be paid, any proposed or actual royalty rate or payment, any actual or projected revenues

                                                                    2 or profits, and those persons involved in the negotiation regarding such license or attempt to

                                                                    3 license.

                                                                    4 REQUEST NO. 68:

                                                                    5          Please produce all Documents Concerning any assessment, analysis, study, forecast, plan,
                                                                    6 reports, valuation, projection, evaluation, expectation, presentation, proposal, or discussion of the

                                                                    7 actual or projected monetary value to UEC or other indicia of value to any person of the alleged

                                                                    8 inventions claimed in any of the Asserted Patents including, without limitation, Documents

                                                                    9 regarding UEC’s actual, planned, forecast, or expected revenues or profits from licensing any of

                                                                   10 the Asserted Patents.

                                                                   11 REQUEST NO. 69:
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12          Please produce all Documents Concerning patent procurement policies, patent
                                                                   13 enforcement policies, competitor product review policies, or patent licensing policies of UEC
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                                                                   14 since January 1, 2007.

                                                                   15 REQUEST NO. 70:

                                                                   16          Please produce all Documents Concerning any alleged nexus, or lack thereof, between
                                                                   17 any alleged commercial success of the subject matter of any claim of any of the Asserted Patents

                                                                   18 and the alleged advantages of that subject matter.

                                                                   19 REQUEST NO. 71:

                                                                   20          Please produce all Documents Concerning the nature and scope of any alleged irreparable
                                                                   21 injury suffered by UEC as a result of the alleged infringement of any of the Asserted Patents

                                                                   22 absent an injunction against AGA in this matter.

                                                                   23 REQUEST NO. 72:

                                                                   24          Please produce all Documents Concerning remedies available at law are adequate to
                                                                   25 compensate UEC for the alleged infringement of any Asserted Patent by AGA.

                                                                   26 REQUEST NO. 73:

                                                                   27          Please produce all Documents Concerning whether the balance of hardships weighs in
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                                                                    1 favor of or against an injunction against AGA for the alleged infringement of any of the Asserted

                                                                    2 Patents.

                                                                    3 REQUEST NO. 74:

                                                                    4           Please produce all Documents Concerning UEC’s contention that UEC is entitled to an
                                                                    5 injunction against AGA related to the Asserted Patents.

                                                                    6 REQUEST NO. 75:

                                                                    7           Please produce Documents sufficient to describe each lost sale of UEC that UEC contends
                                                                    8 is the result of any alleged infringement by AGA as it relates to the Asserted Patents.

                                                                    9 REQUEST NO. 76:

                                                                   10           Please produce Documents sufficient to describe the harm to UEC that UEC contends is
                                                                   11 the result of any alleged infringement by AGA as it relates to the Asserted Patents.
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                                                                   12 REQUEST NO. 77:

                                                                   13
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                                                                                 Please produce all Documents Concerning agreements entered between UEC and AGA
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                                                                   14     Concerning the Asserted Patents.
                                                                   15 REQUEST NO. 78:

                                                                   16            Please produce all Documents Concerning communications between UEC and AGA
                                                                   17     Concerning the Asserted Patents.
                                                                   18                                        SIC Investigation/Report
                                                                   19 REQUEST NO. 79:

                                                                   20           Please produce all Documents in support of paragraph 67 of the Second Amended
                                                                   21 Complaint which states “In June 2017, UEC became aware of a possibility that Okada engaged

                                                                   22 in misconduct in relation to foreign business. In response to this misconduct, UEC established a

                                                                   23 Special Investigation Committee formed by outside experts to investigate Okada.”

                                                                   24 REQUEST NO. 80:

                                                                   25           Please produce all Documents in support of paragraph 68 of the Second Amended
                                                                   26 Complaint which states “On August 29, 2017, the Special Investigation Committee reported the

                                                                   27 result of the investigation to UEC. This identified the fact that Okada had caused UEC damages

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                                                                    1 worth at least JPY 2.2 billion due to his misconduct through the foreign business done for his

                                                                    2 personal gain during 2013 – 2015.         In response to the work of the Special Investigation
                                                                    3 Committee, UEC personnel further reviewed Okada’s activities and they discovered the fact that

                                                                    4 AGA was making unauthorized use of UEC patent rights, including the Asserted Patents, and that

                                                                    5 Okada had concealed these facts.”

                                                                    6 REQUEST NO. 81:

                                                                    7           Please product all Documents Concerning the formation of the Special Investigation
                                                                    8 Committee, including but not limited to the members who were selected to serve on the Special

                                                                    9 Investigation Committee.

                                                                   10 REQUEST NO. 82:

                                                                   11           Please produce all Documents Concerning any reports, including any drafts of the Special
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                                                                   12 Investigation Committee report, from May 23, 2017 to the present, which is referenced in

                                                                   13 paragraph 68 of the Second Amended Complaint.
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                                                                   14 REQUEST NO. 83:

                                                                   15           Please produce all Documents provided to the Special Investigation Committee as
                                                                   16 referenced in paragraphs 67 – 68 of the Second Amended Complaint.

                                                                   17 REQUEST NO. 84:

                                                                   18           Please produce all Documents Concerning the Special Investigation Committee
                                                                   19 investigation and report as referenced in paragraphs 67 – 68 of the Second Amended Complaint.

                                                                   20 REQUEST NO. 85:

                                                                   21            Please produce all Documents Concerning any written communications, text messages
                                                                   22     or emails referenced in any draft or final report by the Special Investigation Committee as
                                                                   23     referenced in paragraphs 67 – 68 of the Second Amended Complaint.
                                                                   24 REQUEST NO. 86:

                                                                   25           Please produce each and every written or recorded statement, deposition transcript,
                                                                   26 affidavit, affirmation or declaration, or UEC Board Meeting Minutes Concerning the Special

                                                                   27 Investigation Committee that UEC, or anyone on its behalf has obtained.

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                                                                    1 REQUEST NO. 87:

                                                                    2            Please produce all Documents Concerning communications between UEC and Mr.
                                                                    3     Yoshinao Negishi from January 1, 2017 to the present.
                                                                    4 REQUEST NO. 88:

                                                                    5            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                    6     Mr. Yoshinao Negishi from January 1, 2017 to the present.
                                                                    7 REQUEST NO. 89:

                                                                    8            Please produce all Documents Concerning communications between UEC and Ms.
                                                                    9     Joanna Ip from January 1, 2017 to the present.
                                                                   10 REQUEST NO. 90:

                                                                   11            Please produce all Documents Concerning communications between UEC and Tiger
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12     Resorts Asia Limited from January 1, 2017 to the present Concerning the Special Investigation
                                                                   13
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                                                                          Committee report which is referenced in paragraph 68 of the Second Amended Complaint.
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                                                                   14 REQUEST NO. 91:

                                                                   15           Please produce all Documents from UEC’s Internal Audit Office from January 1, 2015 to
                                                                   16 present Concerning any subject matters that are contained in the Special Investigation Committee

                                                                   17 report which is referenced in paragraph 68 of the Second Amended Complaint.

                                                                   18 REQUEST NO. 92:

                                                                   19           Please produce all Documents Concerning the selection of those persons who worked in
                                                                   20 UEC’s Internal Audit Office as of May 23, 2017.

                                                                   21 REQUEST NO. 93:

                                                                   22           Please produce all Documents from UEC’s Board of Corporate Auditors which approved
                                                                   23 the report made by Mr. Nobuyoshi Ichikura at UEC’s Extraordinary Board Meeting held on May

                                                                   24 23, 2017.

                                                                   25 REQUEST NO. 94:

                                                                   26           Please produce all Documents Concerning the selection of those persons who served on
                                                                   27 UEC’s Board of Corporate Auditors on May 23, 2017.

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                                                                    1 REQUEST NO. 95:

                                                                    2            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                    3     Auditor Nobuyoshi Ichikura (or Nobuyoshi Ichigura) from January 1, 2017 to the present
                                                                    4     Concerning any subject matters that are contained in the Special Investigation Committee report
                                                                    5     which is referenced in paragraph 68 of the Second Amended Complaint.
                                                                    6 REQUEST NO. 96:

                                                                    7            Please produce all Documents Concerning communications between UEC and the City-
                                                                    8     Yuwa Partners law firm from January 1, 2015 to the present.
                                                                    9 REQUEST NO. 97:

                                                                   10            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   11     the Special Investigation Committee from January 1, 2017 to the present.
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12 REQUEST NO. 98:

                                                                   13
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                                                                                 Please produce all Documents Concerning communications between UEC and Mr.
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                                                                   14     Michio Masaki from January 1, 2017 to the present.
                                                                   15 REQUEST NO. 99:

                                                                   16            Please produce all Documents Concerning communications between UEC and Mr.
                                                                   17     Sotaro Matsuo from January 1, 2017 to the present.
                                                                   18 REQUEST NO. 100:

                                                                   19            Please produce all Documents Concerning communications between UEC and Mr. Miya
                                                                   20     Fukayama from January 1, 2017 to the present.
                                                                   21 REQUEST NO. 101:

                                                                   22            Please produce all Documents Concerning communications between UEC and Mr.
                                                                   23     Takahiro Usui from January 1, 2017 to the present.
                                                                   24 REQUEST NO. 102:

                                                                   25            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   26     Ms. Takako Okada from January 1, 2017 to the present.
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                                                                    1 REQUEST NO. 103:

                                                                    2            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                    3     Mr. Kenshi Asano from January 1, 2017 to the present Concerning the Special Investigation
                                                                    4     Committee, Okada Holdings or Mr. Kazuo Okada.
                                                                    5 REQUEST NO. 104:

                                                                    6            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                    7     Ms. Takako Okada (and/or Ms. Sachiko Okada) from January 1, 2017 to the present Concerning
                                                                    8     the Special Investigation Committee, Okada Holdings or Mr. Okada.
                                                                    9 REQUEST NO. 105:

                                                                   10            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   11     Mr. Hajime Tokuda from January 1, 2017 to the present Concerning the Special Investigation
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12     Committee, Okada Holdings or Mr. Okada.
                                                                   13 REQUEST NO. 106:
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   15     Mr. Masayoshi Miyanaga from January 1, 2017 to the present Concerning the Special
                                                                   16     Investigation Committee, Okada Holdings or Mr. Okada.
                                                                   17 REQUEST NO. 107:

                                                                   18            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   19     Mr. Seisui Kamigaki from January 1, 2017 to the present Concerning the Special Investigation
                                                                   20     Committee, Okada Holdings or Mr. Okada.
                                                                   21 REQUEST NO. 108:

                                                                   22            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   23     Mr. Yoshio Otani from January 1, 2017 to the present Concerning the Special Investigation
                                                                   24     Committee, Okada Holdings or Mr. Okada.
                                                                   25 REQUEST NO. 109:

                                                                   26           Please produce all Documents Concerning communications between UEC and Deutsche
                                                                   27 Bank from January 1, 2017 to the present Concerning the Special Investigation Committee, Okada

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                                                                    1 Holdings or Mr. Okada.

                                                                    2 REQUEST NO. 110:

                                                                    3            Please produce all cellular telephone records for Mr. Fujimoto from January 1, 2017 to
                                                                    4     the present.
                                                                    5 REQUEST NO. 111:

                                                                    6           Please produce all Documents Concerning plans by UEC to pursue an Initial Public
                                                                    7 Offering of its casino resort business in the Philippines.

                                                                    8                                      Okada Holdings Takeover
                                                                    9 REQUEST NO. 112:

                                                                   10           Please produce each and every written or recorded statement, deposition transcript,
                                                                   11 affidavit, affirmation or declaration Concerning Okada Holdings, from the period of January 1,
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12 2015 to present, that UEC, or anyone on its behalf, has obtained.

                                                                   13 REQUEST NO. 113:
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14            Please produce all Documents Concerning communications between UEC and Mr.
                                                                   15     Tomohiro Okada including, but not limited to those Documents, Concerning the Okada Holdings
                                                                   16     Takeover or any activities of Mr. Okada.
                                                                   17 REQUEST NO. 114:

                                                                   18            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   19     Mr. Tomohiro Okada including, but not limited to those Documents, Concerning the Okada
                                                                   20     Holdings Takeover or any activities of Mr. Okada.
                                                                   21 REQUEST NO. 115:

                                                                   22            Please produce all Documents Concerning communications between UEC and Mr.
                                                                   23     Makoto Takada including, but not limited to, those Documents Concerning the Okada Holdings
                                                                   24     Takeover.
                                                                   25 REQUEST NO. 116:

                                                                   26            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                   27     Mr. Makoto Takada from January 1, 2017 to the present including, but not limited to, those
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                                                                    1     Documents Concerning the Okada Holdings Takeover.
                                                                    2 REQUEST NO. 117:

                                                                    3            Please produce all Documents Concerning communications between UEC and Mr.
                                                                    4     Atsunobu Ishida, including, but not limited to, those Documents Concerning the Okada Holdings
                                                                    5     Takeover.
                                                                    6 REQUEST NO. 118:

                                                                    7            Please produce all Documents Concerning communications between Mr. Fujimoto and
                                                                    8     Mr. Atsunobu Ishida, including, but not limited to, those Documents Concerning the Okada
                                                                    9     Holdings Takeover.
                                                                   10 REQUEST NO. 119:

                                                                   11            Please produce all Documents Concerning communications between Mr. Fujimoto, or
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12     anyone on his behalf, and Hiromi Okada from January 1, 2017 to the present.
                                                                   13 REQUEST NO. 120:
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14            Please produce all Documents Concerning communications between UEC, or anyone on
                                                                   15     its behalf, and Hiromi Okada from January 1, 2017 to the present.
                                                                   16 REQUEST NO. 121:

                                                                   17            Please produce all Documents that specifically reference Hiromi Okada (including but
                                                                   18     not limited to Documents containing her name in Japanese) from January 1, 2017 to the present.
                                                                   19 REQUEST NO. 122:

                                                                   20           In a UEC Press Release dated May 31, 2017 entitled “Proposed Change of Board
                                                                   21 members,” it states that UEC has “received notice from Okada Holdings Limited which owns

                                                                   22 67.90% of the voting rights of the Company, stating its intention to approve the proposed

                                                                   23 candidates for Directors as listed above at the 44th Ordinary General Meeting of Shareholders.”

                                                                   24 Please produce a copy of all Documents Concerning this notice that UEC received from Okada

                                                                   25 Holdings.

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                                                                    1 REQUEST NO. 123:

                                                                    2           From January 1, 2017 to present, please produce all Documents Concerning
                                                                    3 communications between UEC (or person or entity on its behalf) and any government

                                                                    4 organizations (including but not limited to the Hong Kong Independent Commission Against

                                                                    5 Corruption) Concerning allegations that Mr. Okada has engaged in any improper or illegal

                                                                    6 activities.

                                                                    7 REQUEST NO. 124:

                                                                    8           From January 1, 2017 to present, please produce all Documents Concerning legal filings
                                                                    9 by UEC (or person or entity on its behalf) Concerning allegations that Mr. Okada has engaged in

                                                                   10 any improper or illegal activities.

                                                                   11 REQUEST NO. 125:
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12           From January 1, 2011 to present, please produce all Documents concerning any UEC
                                                                   13 resolutions (including but not limited to any UEC written corporate resolutions involving Tiger
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14 Resorts Asia Limited) Concerning allegations contained in the report by the Special Investigation

                                                                   15 Committee which is referenced in paragraph 68 of the Second Amended Complaint.

                                                                   16                               UEC Financials/Board Compensation
                                                                   17 REQUEST NO. 126:

                                                                   18           Per a statement from Mr. Yoshinao Negishi, dated June 23, 2017, it states that “with
                                                                   19 respect to the compensation for directors of UE, UE has a prescribed calculation standard for

                                                                   20 performance-linked compensation. After reappointment of a director at the shareholder’s general

                                                                   21 meeting of UE held in June of every year, the amount of compensation to be paid to a director is

                                                                   22 determined based on the performance of the previous business year according to this standard.”

                                                                   23 Please produce a copy of any Documents Concerning this UEC director compensation standard

                                                                   24 from January 1, 2015 to present.

                                                                   25 REQUEST NO. 127:

                                                                   26            Please produce all Documents showing the compensation paid by UEC to Mr. Fujimoto
                                                                   27     from January 1, 2015 to the present.
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                                                                    1 REQUEST NO. 128:

                                                                    2            Please produce all Documents showing the compensation paid by UEC to Mr. Hajime
                                                                    3     Tokuda from January 1, 2015 to the present.
                                                                    4 REQUEST NO. 129:

                                                                    5            Please produce all Documents showing the compensation paid by UEC to Ms. Takako
                                                                    6 Okada from January 1, 2015 to the present.

                                                                    7 REQUEST NO. 130:

                                                                    8            Please produce all Documents showing the compensation paid by UEC to Mr. Shimizu
                                                                    9 Kamigaki from January 1, 2015 to the present.

                                                                   10 REQUEST NO. 131:

                                                                   11            Please produce all Documents showing the compensation paid by UEC to Mr. Yoshio
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12 Otani from January 1, 2015 to the present.

                                                                   13 REQUEST NO. 132:
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14            Please produce all Documents showing the compensation paid by UEC to Mr. Yoshinao
                                                                   15 Negishi from January 1, 2015 to the present.

                                                                   16 REQUEST NO. 133:

                                                                   17           Please produce all Documents Concerning legal fees paid by UEC to lawyers for
                                                                   18 Tomohiro Okada from January 1, 2017 to present.

                                                                   19 REQUEST NO. 134:

                                                                   20           Please produce all Documents Concerning monies paid by UEC to Tomohiro Okada to
                                                                   21 reimburse him for any costs, including any legal fees, incurred by him from January 1, 2017 to

                                                                   22 present.

                                                                   23                                          Indemnification
                                                                   24 REQUEST NO. 135:

                                                                   25           Please produce all Documents Concerning communications between UEC and Wynn
                                                                   26 Resorts, Limited from January 29, 2017 to March 31, 2018 Concerning the Wynn Litigation.

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                                                                    1 REQUEST NO. 136:

                                                                    2          Please produce all Documents Concerning indemnification by UEC and/or Aruze of
                                                                    3 Okada in the Wynn Litigation.

                                                                    4 REQUEST NO. 137:

                                                                    5          Please produce all Documents Concerning payment by UEC or Aruze of legal fees
                                                                    6 incurred by UEC or Aruze in the Wynn Litigation.

                                                                    7 REQUEST NO. 138:

                                                                    8          Please produce all Documents Concerning payment by UEC or Aruze of legal fees
                                                                    9 incurred by Okada in the Wynn Litigation.

                                                                   10           DATED this 27th day of September 2018.
                                                                   11
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12                                             By __/s/ Bryce Kunimoto, Esq._______________
                                                                                                                  J. Stephen Peek, Esq. (1758)
                                                                   13
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP




                                                                                                                  Bryce K. Kunimoto, Esq. (7781)
                                                                                                                  Robert J. Cassity, Esq. (9779)
                                Las Vegas, NV 89134




                                                                   14                                             HOLLAND & HART LLP
                                                                                                                  9555 Hillwood Drive, 2nd Floor
                                                                   15                                             Las Vegas, Nevada 89134
                                                                   16                                             Attorneys for Defendants Aruze Gaming America and
                                                                                                                  Kazuo Okada
                                                                   17
                                                                                                                  Jeffrey S. Love, Esq. (pro hac vice)
                                                                   18                                             Kristin L. Cleveland, Esq. (pro hac vice)
                                                                                                                  KLARQUIST SPARKMAN, LLP
                                                                   19                                             One World Trade Center
                                                                                                                  121 S.W. Salmon Street, Ste 1600
                                                                   20                                             Portland, Oregon 97204
                                                                   21                                             Attorneys for Defendant Aruze Gaming America
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                                                                    1                                    CERTIFICATE OF SERVICE
                                                                    2           I hereby certify that on the 27th day of September 2018, a true and correct copy of the
                                                                    3     foregoing ARUZE GAMING AMERICA, INC. AND KAZUO OKADA’S REQUESTS
                                                                    4     FOR PRODUCTION OF DOCUMENTS (FIRST SET) was served by the following
                                                                    5     method(s):
                                                                    6
                                                                               Email: by electronically delivering a copy via email to the following e-mail addresses:
                                                                    7
                                                                          Jay J. Schuttert, Esq. – jschuttert@efstriallaw.com
                                                                    8     David W. Gutke, Esq. – dgutke@efstriallaw.com
                                                                          EVANS FEARS & SCHUTTERT LLP
                                                                    9     2300 West Sahara Ave Ste 900
                                                                          Las Vegas, NV 89101
                                                                   10
                                                                          Andrew Z. Weaver, Esq. – aweaver@polsinelli.com
                                                                   11     POLSINELLI PC
                                                                          1000 Louisiana Street, 53rd Floor
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12     Houston, TX 77002
                                                                   13
                            9555 Hillwood Drive, 2nd Floor




                                                                          Attorneys for Plaintiff
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14

                                                                   15                                                           __/s/ Valerie Larsen__________________
                                                                                                                                An Employee of Holland & Hart, LLP
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